      2:17-cv-11034-VAR-RSW         Doc # 34    Filed 11/02/17   Pg 1 of 15   Pg ID 461



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

MATTHEW WALKER, et al

          Plaintiffs,
                                                   Case No. 17-11034
v.
                                                   Honorable Victoria A. Roberts
FABRIZIO & BROOK, P.C., et al,

     Defendants.
_________________________________/


             ORDER DENYING DEFENDANT’S MOTION TO DISMISS [Doc. 18]

          Matthew and Stephanie Walker (“the Walkers”) filed an amended complaint

(“Amended Complaint”) against the law firm of Fabrizio & Brook, P.C. (“Fabrizio”) and

Detroit Legal News Publishing, LLC (“Detroit Legal News”). The Walkers allege efforts

to collect their mortgage debt by Fabrizio, and a notice of foreclosure sale posted and

published by Fabrizio and Detroit Legal News, violated their rights under the Fair Debt

Collection Practices Act (“FDCPA”) and Michigan’s Regulation of Collection Practices

Act (“RCPA”).

          Fabrizio filed a motion to dismiss pursuant to Federal Rule of Civil Procedure

12(c). That motion is DENIED.

     I.       Background

          The Walkers purchased a home and executed a mortgage that was assigned to

The Note Authority, LLC (“The Note Authority”). The Walkers defaulted on their

mortgage payments, and The Note Authority hired Fabrizio to foreclose on the Walkers’

mortgage. As part of the foreclosure process, Fabrizio sent the Walkers a letter on

                                               1
 
    2:17-cv-11034-VAR-RSW        Doc # 34    Filed 11/02/17   Pg 2 of 15   Pg ID 462



March 14, 2017 stating that Fabrizio represented The Note Authority in the collection of

the delinquent mortgage payments. The letter stated that the Walkers needed to pay

$37,222.78 directly to The Note Authority to reinstate their account through March 1,

2017. The letter was written on Fabrizio’s letterhead and stated on the bottom in bold

letters that Fabrizio: IS THE CREDITOR’S ATTORNEY AND IS ATTEMPTING TO

COLLECT A DEBT ON ITS BEHALF. The letter was signed: Diane L. Derenge, Real

Estate Default Team, Fabrizio & Brook, P.C.

      On March 21, 2017, the Walkers sent a letter to Fabrizio asking it to verify why

they owed $37,222.78. In response, Fabrizio sent a letter on April 13, 2017, signed

again by Diane L. Derenge, and stating that the Walkers owed $52,000 on the original

mortgage from January 12, 2014. The letter also included a copy of the assignment,

payment history, and reinstatement and payoff figures. The Walkers allege that their

debt was discharged in bankruptcy in 2008, and that the assignment enclosed in

Fabrizio’s April 13 letter showed a false explanation of how The Note Authority obtained

the debt. Amended Complaint, Par. 60, 83, 84. They also allege that Fabrizio’s April 13

letter failed to say anything about why they owed $37,222.78, as required by 15 U.S.C.

§ 1692g(a)(4). Amended Complaint, Par. 58, 87.

      On April 26, 2017, Fabrizio sent the Walkers another letter signed by Diane L.

Derenge. It stated that their mortgage is being foreclosed and a foreclosure sale is

scheduled for June 1, 2017. The letter was written on Fabrizio’s letterhead and stated

on the bottom in bold letters that Fabrizio: IS THE CREDITOR’S ATTORNEY AND IS

ATTEMPTING TO COLLECT A DEBT ON ITS BEHALF.




                                            2
 
    2:17-cv-11034-VAR-RSW         Doc # 34    Filed 11/02/17   Pg 3 of 15   Pg ID 463



       On May 4, 2017, Fabrizio posted a public notice of an impending sheriff sale of

the property for June 1, 2017 in the Detroit Legal News. The public notice stated that

the debt and the Walkers were being pursued by debt collectors, that the mortgage debt

is in default, and the amount owed was $56,825.94. The notice was also posted on the

Walkers’ door. The Walkers allege that the information in the foreclosure notice went

beyond the requirements of the Michigan Foreclosure Statute, in violation of the FDCPA

and the RCPA. Amended Complaint, Par. 67, 78, 80. They allege harassment and

abuse (15 U.S.C. § 1692d), unlawful communication to third parties and the world (15

U.S.C. § 1692c(b)), false representation or implication (15 U.S.C. § 1692e(6)), and

publication of their mortgage debt to the world and the State of Michigan (15 U.S.C. §

1692d(4)). Amended Complaint, Par. 125b-e.

       The Walkers understood the letters as coming from a law firm. They allege that

Fabrizio’s letters were misleading and caused much confusion, as they were computer

generated, mass produced, and sent on Fabrizio letterhead but signed by a non-

attorney. The legal confusion the letters caused, clearly written without any meaningful

attorney involvement, the Walkers say, violates the FDCPA, 15 U.S.C. §§ 1692e(3),

(10). Amended Complaint, Par. 71-74, 89, 125a, g. Additionally, the Walkers allege that

by allowing a non-attorney to sign and send out letters on law firm letterhead,

threatening to foreclose on behalf of a creditor bank, Fabrizio violated the RCPA, Mich.

Comp. Laws § 445.252(a). Amended Complaint, Par. 82, 124. As a result, the Walkers

say they suffered statutory and actual damages under the FDCPA and the RCPA, and

the publication of their debt information violated their right to privacy. Amended

Complaint, Par. 93, 94.


                                             3
 
     2:17-cv-11034-VAR-RSW           Doc # 34    Filed 11/02/17    Pg 4 of 15   Pg ID 464



          In their motion to dismiss, Fabrizio claims: 1) the Walkers lack Article III standing

to bring suit; 2) the FDCPA does not preempt the Michigan Foreclosure Statute; 3) the

Walkers consented to the publication of the foreclosure notice; 4) the notice was not a

communication made in connection with the collection of a debt; and 5) the letters that

were plainly from a non-attorney were not misleading. Fabrizio also filed a Notice of

Supplemental Authority in support of its motion to dismiss [Doc. # 20], asking the Court

to consider Wood v. Midland Funding, LLC, 2017 U.S. App. LEXIS 11469 * (6th Cir.

Jun. 22, 2017) in deciding the motion.

    II.      Legal Standard

             A. Motion to Dismiss

          A motion for judgment on the pleadings under Federal Rule of Civil Procedure

12(c) tests the legal sufficiency of a plaintiff’s complaint. The Court reviews such a

motion under the same standard as a motion to dismiss under Rule 12(b)(6).

Sensations, Inc. v. City of Grand Rapids, 526 F.3d, 291, 295-96 (6th Cir. 2008). As

such, it must accept as true all well-pled material allegations in the complaint and

“determine whether they plausibly give rise to an entitlement to relief.” Ashcroft v. Iqbal,

556 U.S. 662, 679 (2009). The Court may grant a motion for judgment on the pleadings

only where the movants clearly establish that no material issue of fact remains

unresolved and that they are entitled to judgment as a matter of law. Poplar Creek Dev.

Co. v. Chesapeake Appalachia, LLC, 636 F.3d 235, 240 (6th Cir. 2011); Drew v. Kemp-

Brooks, 802 F. Supp. 2d 889, 892 (E.D. Mich. 2011).

          To withstand a Rule 12(c) motion, “a complaint must contain direct or inferential

allegations respecting all the material elements under some viable legal theory.”

                                                4
 
     2:17-cv-11034-VAR-RSW           Doc # 34    Filed 11/02/17     Pg 5 of 15    Pg ID 465



Commercial Money Ctr., Inc. v. Illinois Union Ins. Co., 508 F.3d 327, 336 (6th Cir.

2007).

    III.      Analysis

              A. Standing

           Fabrizio argues the Court lacks subject matter jurisdiction over this suit because

the Walkers lack standing. Specifically, Fabrizio argues that the Walkers have not

alleged that they suffered a concrete injury.

           “Whether a party has standing is an issue of the court’s subject matter

jurisdiction.” Lyshe v. Levy, 854 F.3d 855, 857 (6th Cir. 2017). To establish standing to

bring suit in federal court, a plaintiff must show it “(1) suffered an injury in fact, (2) that is

fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540,

1547 (2016). “To establish injury in fact, a plaintiff must show that he or she suffered ‘an

invasion of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or

imminent, not conjectural or hypothetical.’” Id. at 1548 (quoting Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560 (1992)). An injury is concrete when it is de facto, or actually

exists; an injury is particularized if it affects the plaintiff in a personal and individual way.

Id. A concrete injury does not have to be a tangible one, as courts have recognized that

intangible injuries can be concrete. Id. at 1549. Further “the law has long permitted

recovery by certain tort victims even if their harms may be difficult to prove or measure.”

Id. at 1549.




                                                5
 
    2:17-cv-11034-VAR-RSW         Doc # 34     Filed 11/02/17   Pg 6 of 15    Pg ID 466



       Lyshe v. Levy, the case Fabrizio primarily relies on for its standing argument, is

distinguishable. In Lyshe, the plaintiff brought a claim under FDCPA, alleging that the

defendant law firm violated state discovery procedural rules. Lyshe, 854 F.3d at 857.

The plaintiff’s alleged harm was that he would have to visit a notary and contact

defendants to obtain electronic copies of the discovery, due to defendant’s violation of

state law. Id. at 859. The Sixth Circuit ruled that under Spokeo, the plaintiff did not

allege a concrete harm because “the mere prospect of a slightly less convenient

discovery process, is not the type of abusive debt collection practice the FDCPA was

designed to prevent.” Id. at 861-62.

       The Walkers do allege concrete harms that the FDCPA is designed to prevent.

The FDCPA prohibits “[t]he false representation or implication that any individual is an

attorney or that any communication is from an attorney.” 15 U.S.C. § 1692e(3). The

Walkers allege that because Fabrizio’s validation and foreclosure letters came on law

firm letterhead, but were signed by a non-attorney, they caused confusion and were

misleading. Further, the FDCPA prohibits a debt collector from communicating, “in

connection with the collection of any debt, with any person other than the consumer, his

attorney, a consumer reporting agency if otherwise permitted by law, the creditor, the

attorney of the creditor, or the attorney of the debt collector.” 15 U.S.C. § 1692c(b). The

FDCPA’s ban on communicating with third parties “is meant to protect debtors from

harassment, embarrassment, loss of job, [and] denial of promotion.” Brown v. Van Ru

Credit Corp., 804 F.3d 740, 743 (6th Cir. 2015). The Walkers allege that Fabrizio’s

publication of their private information caused them mental distress, embarrassment,

and damage to their reputation in the community. This is concrete harm.


                                              6
 
    2:17-cv-11034-VAR-RSW         Doc # 34     Filed 11/02/17   Pg 7 of 15   Pg ID 467



       Fabrizio also argues that at most, the Walkers allege a technical violation of §

1692c(b) without any associated concrete harm, which is insufficient to confer standing.

However, the Walkers’ allegations go beyond the procedural violations alleged in Lyshe.

They not only allege that Fabrizio published their private information in the foreclosure

notices, but that such publication caused them distress, embarrassment and

reputational damage. This alleged invasion of privacy is an “invasion of a legally

protected interest that is concrete and particularized … .” Spokeo, 136 S. Ct. at 1548

(internal citations and quotations omitted).

       The Walkers allege an injury in fact sufficient to establish standing to sue.

           B. Preemption

       Fabrizio argues that the Walkers’ claims under the FDCPA should be dismissed

because Congress did not intend the reach of the FDCPA to preempt Michigan’s

foreclosure by advertisement statute, or render material compliance with that statute

unlawful. Fabrizio says that Section 1692n states only that “the laws of any state with

respect to debt collection practices” are preempted to the extent the FDCPA affords

more protection than state law, but contends that there is no indication that Congress

intended Section 1692n to vitiate state law allowing non-judicial foreclosures, or that

non-judicial foreclosures are intended to fall under the broad heading of “debt

collection.”

       The Walkers disagree. They say that judicial foreclosure public notices and

Fabrizio’s notice specifically stating their private debt information, is a “communication”




                                               7
 
    2:17-cv-11034-VAR-RSW        Doc # 34    Filed 11/02/17    Pg 8 of 15    Pg ID 468



under Section 1692a(2): the conveying of information regarding a debt directly or

indirectly to any person through any medium.

       There is ample law to support the Walkers’ position that the information

contained in Fabrizio’s public notice – which included extraneous information – could

amount to an abusive debt collection practice in violation of federal law.

       Furthermore, the Sixth Circuit held in Glazer v. Chase Homes Fin. LLC, 704 F.3d

453, 461 (6th Cir. 2013) that “mortgage foreclosure is debt collection under the

FDCPA.” Therefore, “[l]awyers who meet the general definition of a ‘debt collector’ must

comply with the FDCPA when engaged in mortgage foreclosure.” Id. at 464.

       Compliance with Michigan’s statutes does not immunize Fabrizio from FDCPA

liability. See Salewske v. Trott & Trott P.C., 2017 U.S. Dist. LEXIS 104681, *11, 21

(E.D. Mich. July 7, 2017) (denying defendant law firm’s motion to dismiss for failure to

state a claim under the FDCPA when defendant published foreclosure sale notices in

compliance with state law.)

       The Walkers allege sufficient facts, that when accepted as true, entitle them to

relief under the FDCPA.

          C. Consent

       The Walkers allege that Fabrizio published their private debt information, even

though Michigan law does not require the publication of such information, and they say

the publication was not in accordance with applicable law.




                                             8
 
    2:17-cv-11034-VAR-RSW         Doc # 34    Filed 11/02/17    Pg 9 of 15    Pg ID 469



       The FDCPA provides that unless the consumer gives prior consent directly to the

debt collector, a debt collector may not communicate to third parties in connection with

the collection of a debt. 15 U.S.C. § 1692c(b). Fabrizio contends that because the

notice of foreclosure sale complies with Michigan law, and because the Walkers gave

prior consent to the publication of the notice, there is no violation of Section 1692c(b).

       The Walkers do not contest that their mortgage agreement states that the Lender

shall publish and post notice of a foreclosure sale. However, they point out that

according to the mortgage agreement, the publication of such notice must follow

applicable law.

       Construing the allegations in a light most favorable to them, the Walkers only

agreed to publication of a notice of foreclosure sale in accordance with applicable law,

including Michigan. See Thebert v. Potestivo & Assocs., P.C., 2017 U.S. Dist. LEXIS

132503, *18 (E.D. Mich. Aug. 18, 2017) (“[E]ven if [plaintiff] had directly given

[defendant] consent to foreclose by advertisement, the Foreclosure Notice arguably

includes some information not required by Michigan’s foreclosure-by-advertisement

statute, … so it is not clear that [plaintiff] consented to the communication of that

information.”).

       Fabrizio’s argument that the Walkers fail to allege an FDCPA violation fails.

          D. Communication in Connection with a Debt

       Fabrizio argues that the publication of the notice of foreclosure sale was not a

communication made in connection with the collection of a debt. It further argues that

the purpose of the publication was to satisfy the statutory requirements of Michigan’s


                                              9
 
    2:17-cv-11034-VAR-RSW        Doc # 34    Filed 11/02/17    Pg 10 of 15    Pg ID 470



foreclosure by advertisement law, not to induce the Walkers to make payments on the

defaulted mortgage.

       The FDCPA does not apply to every communication between a debt collector

and a debtor. Grden v. Leikin Ingber & Winters PC, 643 F.3d 169, 173, (6th Cir. 2011).

For a debt collector’s communication to be actionable under the FDCPA, it need not

itself be a collection attempt, but connected to one. Id. Fabrizio cites Grden for the

proposition that communications that do not demand payment do not violate the FDCPA

because they are not made in connection with a debt collection. However, this is an

inaccurate statement of Grden; it holds that “for a communication to be in connection

with the collection of a debt, an animating purpose of the communication must be to

induce payment by the debtor.” Id. A communication that aims to make collection

attempts more likely to succeed has the requisite connection. Id.

       The Sixth Circuit has made clear that mortgage foreclosure is debt collection

under the FDCPA. Glazer v. Chase Home Fin. LLC, 704 F.3d 453, 464 (6th Cir. 2013).

“In fact, every mortgage foreclosure, judicial or otherwise, is undertaken for the very

purpose of obtaining payment on the underlying debt, either by persuasion … or

compulsion (i.e., obtaining a judgment of foreclosure, selling the home at auction, and

applying the proceeds from the sale to pay down the outstanding debt).” Id. at 461

(emphasis in original). Contrary to Fabrizio’s claim of what the purpose of the

publication was, “there can be no serious doubt that the ultimate purpose of foreclosure

is the payment of money.” Id. at 463.

       Fabrizio cites to Federal Trade Commission Staff Commentary, from 1988, which

does not include in its definition of “communication,” a notice required by law as a

                                            10
 
    2:17-cv-11034-VAR-RSW          Doc # 34     Filed 11/02/17    Pg 11 of 15    Pg ID 471



prerequisite to enforcing a contractual relationship between a creditor and a debtor.

However, this Staff Commentary is not binding on the Court, and because of its age,

does not take into account more recent Sixth Circuit precedent. It is unpersuasive.

         District courts within this Circuit have relied on Glazer to hold that a foreclosure

notice pursuant to Michigan law is a communication in connection with debt collection.

See Gray v. Trott & Trott, P.C., 2016 U.S. Dist. LEXIS 189207, *2 (W.D. Mich. Nov. 10,

2016); Salewske v. Trott & Trott P.C., 2017 U.S. Dist. LEXIS 104681, *20 (E.D. Mich.

July 7, 2017); Thebert, 2017 U.S. Dist. LEXIS 132503 at *18 (holding that the defendant

did not show that it was implausible that it violated Section 1692c(b) by posting and

publishing a foreclosure notice). Most notably, in another case against Fabrizio involving

nearly identical facts, another court in this district noted that there was “plenty about the

foreclosure notice that would permit the conclusion that its animating purpose was to

induce payment.” Thompke v. Fabrizio & Brook, P.C., 2017 U.S. Dist. LEXIS 128359,

*26 (E.D. Mich. Aug. 14, 2017) (internal quotations omitted). As in Thompke, Fabrizio’s

foreclosure notice opens with “AS A DEBT COLLECTOR, WE ARE ATTEMPTING TO

COLLECT A DEBT…” The notice also states that the mortgage “claimed to be due, at

the date of this notice … the sum of $56.825.94.” Further, the notice makes clear that

the mortgage will be foreclosed by a public auction of the premises, “or so much thereof

as may be necessary to pay the amount due.”

         The Court concludes that the foreclosure notice was a communication aimed to

make payment on the defaulted mortgage more likely to succeed, and has the requisite

connection to a debt collection attempt. Grden, 643 F.3d at 173. Fabrizio’s argument

fails.

                                               11
 
    2:17-cv-11034-VAR-RSW          Doc # 34     Filed 11/02/17     Pg 12 of 15    Pg ID 472



           E. Letters

       In their Amended Complaint, the Walkers allege that attempted validation and

foreclosure letters sent by Fabrizio were misleading because they were sent on

Fabrizio’s letterhead, but signed by Diane L. Derenge, a member of the Real Estate

Default Team, and not an attorney. The Walkers say when they received the letters,

they understood them – as would the least sophisticated consumer – to be from a law

firm. Further, the Walkers claim the letters are computer generated, mass produced,

and sent by Fabrizio as a part of foreclosure proceedings. They say this practice is

misleading and confusing, and the letters are written without meaningful involvement of

an attorney.

       “A debt collector may not use any false, deceptive, or misleading representation

or means in connection with the collection of any debt.” 15 U.S.C. § 1692e. “The false

representation or implication that any individual is an attorney or that any

communication is from an attorney” violates this section of the FDCPA. 15 U.S.C. §

1692e(3). Courts view a debt collector’s conduct through the eyes of the “least

sophisticated consumer” to determine whether conduct fits within the FDCPA’s broad

scope. Currier v. First Resolution Inv. Corp., 762 F.3d 529, 533 (6th Cir. 2014). This

standard protects the gullible and the shrewd, “while simultaneously presuming a basic

level of reasonableness and understanding on the part of the debtor, thus preventing

liability for bizarre or idiosyncratic interpretations of debt collection notices” Id.

       Fabrizio says the Walkers do not establish the letters were misleading, and says

their claims should be dismissed. Fabrizio also contends that a reasonable

unsophisticated consumer would deduce the letters were not sent by an attorney

                                               12
 
    2:17-cv-11034-VAR-RSW          Doc # 34     Filed 11/02/17    Pg 13 of 15     Pg ID 473



because Diane L. Derenge, who signed them, was not listed among the attorneys

whose names are printed at the top of the letterhead.

       Whether a letter is misleading raises a question of fact that should be determined

by a jury. Buchanan v. Northland Group, 776 F.3d 393, 397 (6th Cir. 2015). At the

motion to dismiss stage, the Court’s only concern is whether the Walkers allege

sufficient facts to state a claim. If their allegations are true, Fabrizio could be liable for

an FDCPA violation, and a violation of Michigan law. See also Mich. Comp. Laws §

445.252(a) (prohibiting the use of "the stationery of an attorney or credit bureau unless

the regulated person is an attorney"). The Walkers sufficiently state a claim.

           F. Wood v. Midland Funding, LLC

       Fabrizio filed a Notice of Supplemental Authority in support of its motion to

dismiss. Fabrizio asks the Court to consider Wood v. Midland Funding, LLC, where the

Sixth Circuit affirmed a district court’s dismissal of a case because the defendant debt

collectors “did not make false or misleading statements or engage in harassing conduct

actionable under the FDCPA” when they published notices of foreclosure action against

the plaintiff. Wood, 2017 U.S. App. LEXIS 11469 at *2.

       Wood is distinguishable. In Wood, the defendants initiated legal proceedings

against the plaintiffs to collect a debt. Id. at *3. The state court allowed the defendants

to publish notices of actions as an alternative means of service. Id. The defendants

used local newspapers to publish the notices, identifying plaintiffs as debtors, “revealing

[p]laintiffs’ names and addresses as well as the dollar amounts owed, original creditors,

[] current debt holders,” and they published that the plaintiffs were being sued in state


                                               13
 
    2:17-cv-11034-VAR-RSW           Doc # 34    Filed 11/02/17     Pg 14 of 15     Pg ID 474



court. Id. at *4. The plaintiffs sued in federal court, alleging, inter alia, that the

newspaper publications of the debt were a form of harassment, in violation of the

FDCPA. Id. The Sixth Circuit held that compliance with a state court order is not, by

itself, cognizable as harassing or abusive conduct under the FDCPA. Id. at *13.

“Defendants used the court system to secure a means for facilitating the collection of

defaulted debt, general conduct for which we have hesitated before extending liability.”

Id. at *14.

          Fabrizio did not publish the foreclosure notice pursuant to a court order. Although

state law allows for such publication, the Walkers allege that the private information

published went beyond the requirements of state law. Further, there was considerable

correspondence between the Walkers and Fabrizio before the publication of foreclosure

notices. Neither party claims that the Walkers were not on notice of the foreclosure

proceedings against them. Thus, unlike in Wood, there is no reason to think that the

publication of the Walkers’ private information was more beneficial than harassing.

          The Court finds that the Walkers state a claim for relief.

    IV.       Conclusion

          This motion is designed to test the sufficiency of the Walkers’ Amended

Complaint. The Court reviewed their allegations in a light most favorable to them. Doing

this, and drawing all reasonable inferences in their favor, the Court finds that the

Walkers allege enough facts to support their claims under the FDCPA and the RCPA;

they survive Fabrizio’s motion to dismiss.

          The motion is DENIED.


                                               14
 
    2:17-cv-11034-VAR-RSW   Doc # 34   Filed 11/02/17   Pg 15 of 15   Pg ID 475



      IT IS ORDERED.
                                   S/Victoria A. Roberts
                                   Victoria A. Roberts
                                   United States District Judge

Dated: November 2, 2017




                                       15
 
